Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 1 of 11 Page ID #:372




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    5 TELEPHONE: (310) 282-8989
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    6
    7 Attorneys for Defendants and Counterclaimants
      XX GLOBAL, INC. and JACQUES WEBSTER
    8
      [ADDITIONAL COUNSEL ON SIGNATURE PAGE]
    9
   10
   11                                     UNITED STATES DISTRICT COURT
   12                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13
   14 PJAM LLC,                                         CASE NO.: 2:18-cv-03192 JFW
                                                        (MRWx)
   15                        Plaintiff,
                                                        Hon. John F. Walter
   16             vs.
   17 XX GLOBAL, INC., JAQUES                           [PROPOSED] PRETRIAL EXHIBIT
                                                        STIPULATION
   18 WEBSTER, and DOES 1-20, inclusive,
   19          Defendants.

   20
      XX GLOBAL, INC., JACQUES                          Pre-Trial Conf.: March 29, 2019
   21 WEBSTER,                                          Trial Date:      April 9, 2019
   22                        Counterclaimants,
                                                        Action Commenced: March 20, 2018
   23        vs.
      PJAM LLC, JEFFERSON AGAR,
   24 ALEX MARTINI, PATRICK
      JOHNSTON, and ROES 1 through 10,
   25 inclusive,
   26
                 Counterclaim Defendants.
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        3975.065/1403736.2

        [PROPOSED] PRETRIAL EXHIBIT STIPULATION
       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 2 of 11 Page ID #:373




                 1             Pursuant to Federal Rule of Civil Procedure 26(a)(3)(iii), Local Rule 16-6.1,
                 2 and the Court’s Scheduling and Case Management Order, Plaintiff and
                 3 Counterclaim Defendant PJAM LLC, Counterclaim Defendants Jefferson Agar,
                 4 Alex Martini, and Patrick Johnston (collectively, “PJAM”), and Defendants and
                 5 Counterclaimants XX Global, Inc. and Jacques Webster (together, “Defendants”),
                 6 respectfully submit the following Proposed Pre-Trial Exhibit Stipulation that the
                 7 parties presently intend to offer as evidence at trial:
                 8
                 9
                10                           PLAINTIFF’S EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                11    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                12    No.                                      State Grounds Objection
                      1.              January 24, 2018 Agreement.   Stipulated
                13
                      2.              Collection of Wells Fargo     Thomas
                14                    wire transfer records.        Johnston,
                                                                    Alex
                15                                                  Martini,
                                                                    Jefferson
                16                                                  Agar
                      3.              Trip Information and          Jefferson
                17                    Confirmation Sheet            Agar,
                                                                    Moshe
                18                                                  Malamud,
                                                                    Brett
                19                                                  Lockett
                      4.              8/28/2017 Agreement with      Alex
                20                    Moxy Hotels.                  Martini,
                                                                    Jefferson
                21                                                  Agar,
                                                                    Patrick
                22                                                  Johnston
                      5.              12/10/2017 Group Sales        Alex
                23                    Agreement with Emerald Inn.   Martini,
                                                                    Jefferson
                24                                                  Agar,
                                                                    Patrick
                25                                                  Johnston
                      6.              2/5/2018 Emerald Inn sales    Alex
                26                    receipt.                      Martini,
                                                                    Jefferson
                27                                                  Agar,
                                                                    Patrick
                28                                                  Johnston
KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 3 of 11 Page ID #:374




                 1                           PLAINTIFF’S EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      7.              Beverage distributor price list. Alex        Exhibit 7 appears   This is not a
                 4                                                     Martini,    to be a summary     summary, chart, or
                                                                       Jefferson   of other            calculation to
                 5                                                     Agar,       documents, which    prove the content
                                                                       Patrick     have not been       of voluminous
                 6                                                     Johnston    made available to   writings governed
                                                                                   Defendants for      by Fed. R. Evid.
                 7                                                                 examination or      1006.
                                                                                   copying. Fed. R.
                 8                                                                 Evid. 1006;
                                                                                   Amarel v.
                 9                                                                 Connell, 102 F.3d
                                                                                   1494, 1516-1517
                10                                                                 (9th Cir. 1996).
                                                                                   Nor has Plaintiff
                11                                                                 established that
                                                                                   the underlying
                12                                                                 documents are
                                                                                   voluminous and
                13                                                                 admissible. Id.
                      8.              PJAM payroll journal.           Alex         Exhibit 8 a         This is not a
                14                                                    Martini,     summary of other    summary, chart, or
                                                                      Jefferson    documents, which    calculation to
                15                                                    Agar,        have not been       prove the content
                                                                      Patrick      made available to   of voluminous
                16                                                    Johnston     Defendants for      writings governed
                                                                                   examination or      by Fed. R. Evid.
                17                                                                 copying. Fed. R.    1006.
                                                                                   Evid. 1006;
                18                                                                 Amarel v.
                                                                                   Connell, 102 F.3d
                19                                                                 1494, 1516-1517
                                                                                   (9th Cir. 1996).
                20                                                                 Nor has Plaintiff
                                                                                   established that
                21                                                                 the underlying
                                                                                   documents are
                22                                                                 voluminous and
                                                                                   admissible. Id.
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KING, HOLMES,
 PATERNO &
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 4 of 11 Page ID #:375




                 1                           PLAINTIFF’S EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      9.              Twin City Live budget.   Alex        Exhibit 9 appears   This is not a
                 4                                             Martini,    to be a summary     summary, chart, or
                                                               Jefferson   of other            calculation to
                 5                                             Agar,       documents, which    prove the content
                                                               Patrick     have not been       of voluminous
                 6                                             Johnston    made available to   writings governed
                                                                           Defendants for      by Fed. R. Evid.
                 7                                                         examination or      1006.
                                                                           copying. Fed. R.
                 8                                                         Evid. 1006;
                                                                           Amarel v.
                 9                                                         Connell, 102 F.3d
                                                                           1494, 1516-1517
                10                                                         (9th Cir. 1996).
                                                                           Nor has Plaintiff
                11                                                         established that
                                                                           the underlying
                12                                                         documents are
                                                                           voluminous and
                13                                                         admissible. Id.
                      10.             Employee list.           Alex        Exhibit 10          This is not a
                14                                             Martini,    appears to be a     summary, chart, or
                                                               Jefferson   summary of other    calculation to
                15                                             Agar,       documents, which    prove the content
                                                               Patrick     have not been       of voluminous
                16                                             Johnston    made available to   writings governed
                                                                           Defendants for      by Fed. R. Evid.
                17                                                         examination or      1006.
                                                                           copying. Fed. R.
                18                                                         Evid. 1006;
                                                                           Amarel v.
                19                                                         Connell, 102 F.3d
                                                                           1494, 1516-1517
                20                                                         (9th Cir. 1996).
                                                                           Nor has Plaintiff
                21                                                         established that
                                                                           the underlying
                22                                                         documents are
                                                                           voluminous and
                23                                                         admissible. Id.
                24
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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 5 of 11 Page ID #:376




                 1                           PLAINTIFF’S EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      11.             Chase Bank statements.          Alex        Exhibit 11          This is not a
                 4                                                    Martini,    appears to be a     summary, chart, or
                                                                      Jefferson   summary of other    calculation to
                 5                                                    Agar,       documents, which    prove the content
                                                                      Patrick     have not been       of voluminous
                 6                                                    Johnston    made available to   writings governed
                                                                                  Defendants for      by Fed. R. Evid.
                 7                                                                examination or      1006.
                                                                                  copying. Fed. R.
                 8                                                                Evid. 1006;
                                                                                  Amarel v.
                 9                                                                Connell, 102 F.3d
                                                                                  1494, 1516-1517
                10                                                                (9th Cir. 1996).
                                                                                  Nor has Plaintiff
                11                                                                established that
                                                                                  the underlying
                12                                                                documents are
                                                                                  voluminous and
                13                                                                admissible. Id.
                      12.             PJAM transaction detail         Alex        Exhibit 12          This is not a
                14                    report.                         Martini,    appears to be a     summary, chart, or
                                                                      Jefferson   summary of other    calculation to
                15                                                    Agar,       documents, which    prove the content
                                                                      Patrick     have not been       of voluminous
                16                                                    Johnston    made available to   writings governed
                                                                                  Defendants for      by Fed. R. Evid.
                17                                                                examination or      1006.
                                                                                  copying. Fed. R.
                18                                                                Evid. 1006;
                                                                                  Amarel v.
                19                                                                Connell, 102 F.3d
                                                                                  1494, 1516-1517
                20                                                                (9th Cir. 1996).
                                                                                  Nor has Plaintiff
                21                                                                established that
                                                                                  the underlying
                22                                                                documents are
                                                                                  voluminous and
                23                                                                admissible. Id.
                      13.             Expert report of Alex Martini   Alex
                24                                                    Martini
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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 6 of 11 Page ID #:377




                 1                          DEFENDANTS’ EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      26.                 3/29/2019 email chain from    Zach
                 4                        Zach Seidman to Mattias       Seidman
                                          Eng. [SCOTT000004-5]
                 5
                      27.                 4/3/2018 email from Zach      David
                 6                        Seidman to David              Stromberg
                                          Stromberg.                    / Zach
                 7                        [SCOTT000014-15]              Seidman

                 8    28.                 4/3/2018 email from Zach      David
                                          Seidman to David              Stromberg
                 9                        Stromberg.                    / Zach
                                          [SCOTT000018-19]              Seidman
                10
                      29.                 3/29/2018 email chain from  David
                11                        Zach Seidman to Mattias     Stromberg
                                          Eng. [SCOTT000020-23]       / Zach
                12                                                    Seidman
                      30.                 2/4/2018 email from Mattias Zach
                13                        Eng to Conah Howard, Zach Seidman /
                                          Seidman, Jefferson Agar     David
                14                        with copy to David          Stromberg
                                                                      / Jefferson
                15                        Stromberg, Mark Gillespie, Agar
                                          Laurie Soriano and
                16                        Dominique at Team-Tristar.
                                          [SCOTT000031]
                17
                      31.                 2/2/2018 TMZ Exclusive,       David         Lacks foundation.   This is a form
                18                        “Travis Scott Working A       Stromberg                         objection with no
                                          Double Shift Super Bowl       / Jefferson                       explanation.
                19                        LII Weekend” downloaded       Agar                              Foundation will be
                                                                                                          established for this
                                          from http://amp.tmz.com                                         exhibit through
                20                        [SCOTT000032-35]                                                testimony at trial.
                21    32.                 2/3/2018 M2Jets Trip          David         Lacks foundation    This document
                                          Information and               Stromberg     (illegible).        came from
                22                        Confirmation invoice          / Jefferson                       Plaintiff’s records.
                                          prepared for Jefferson Agar   Agar                              Defendants will
                23                                                                                        attempt to work
                                          in the amount of                                                with Plaintiff
                24                        $41,805.22.                                                     before trial to
                                          [SCOTT000042]                                                   identify a clearer
                25                                                                                        copy. But, this
                                                                                                          copy is legible.
                26
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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 7 of 11 Page ID #:378




                 1                          DEFENDANTS’ EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      33.                 1/25/2018 to 2/3/2018 Text    David
                 4                        Messages from David           Stromberg
                                          Stromberg to Jefferson Agar   / Jefferson
                 5                        and Patrick Johnston.         Agar
                 6                        [SCOTT000043-56]
                      34.                 Undated text messages from    David
                 7                        David Stromberg.              Stromberg
                                          [SCOTT000028-30]              / Jefferson
                 8                                                      Agar
                      35.                 1/24/2018 Agreement Re        David
                 9                        2018 Super Bowl               Stromberg
                                          Concert/Appearance –          / Alex
                10                                                      Martini
                                          Travis Scott.
                11                        [SCOTT000057-60]

                12    36.                 3/20/2018 Complaint in an     David
                                          action entitled, PJAM LLC     Stromberg
                13                        vs. XX Global, Inc., Jaques
                                          Webster, et al. [9pp.]
                14    37.                 4/17/2018 Answer and          David
                15                        Counterclaims of              Stromberg
                                          Defendants and
                16                        Counterclaimants XX
                                          Global, Inc. and Jacques
                17                        Webster in an action
                                          entitled, PJAM LLC vs. XX
                18
                                          Global, Inc., Jaques
                19                        Webster, et al. [18pp.]
                      38.                 6/25/2018 Counterclaim        Alex
                20                        Defendants Jefferson Agar,    Martini
                21                        Patrick Johnson and Alex
                                          Martini’s Answer to
                22                        Counterclaims in an action
                                          entitled, PJAM LLC vs. XX
                23                        Global, Inc., Jaques
                                          Webster, et al. [9pp]
                24
                      39.                 5/15/2018 Summons and         Alex          Irrelevant and
                25                        Complaint in a New York       Martini       prejudicial.
                                          action entitled, PJAM
                26                        Productions, LLC vs. M
                27                        Light, LLC, d/b/a “Myth
                                          Live” and Michael Ogren.
                28                        Index No. 652409/2018.
KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 8 of 11 Page ID #:379




                 1                          DEFENDANTS’ EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      40.                 2/4/2018 weather report       David        Lacks foundation;    These are form
                 4                        from NOAA:                    Stromberg    hearsay; Fed. R.     objections with no
                                          https://www.weather.gov/m     / Patrick    Evid. 1006.          explanations. This
                 5                        edia/mpx/Climate/STC/feb2     Johnston                          document from the
                                                                                                          National Oceanic
                 6                        018.pdf                                                         and Atmospheric
                                                                                                          Administration is
                 7                                                                                        subject to judicial
                                                                                                          notice – it simply
                 8                                                                                        shows the weather
                                                                                                          in the Minneapolis
                 9                                                                                        / St. Paul area on
                                                                                                          the day of the
                10                                                                                        event at issue.
                                                                                                          Fed. R. Evid. 201.
                11    41.                 3/5/2019 deposition
                                          transcript of Alex Martini.
                12
                      42.                 Undated M2JetsTrip            Alex
                13                        Information and               Martini /
                                          Confirmation provided by      Patrick
                14                        Plaintiff to Defendant at     Johnston /
                                                                        David
                                          Mediation. [2pp.]
                15                                                      Stromberg
                      43.                 Undated timeline entitled,    Alex         These are            These are
                16                        “A Workable Alternative:      Martini /    demonstrative        demonstratives for
                                          Departure From                Patrick      exhibits that lack   trial, for which no
                17                        Minneapolis-St. Paul          Johnston /   foundation.          foundation is
                                                                        David                             needed. If this
                18                        International Airport.”       Stromberg                         timeline is used as
                                          [1pg.]                                                          substantive
                19                                                                                        evidence at trial,
                                                                                                          foundation will be
                20                                                                                        established
                                                                                                          through testimony.
                21    44.                 Undated timeline entitled,    Alex         These are            These are
                                          “Plaintiffs’ Offered          Martini /    demonstrative        demonstratives for
                22                        Itinerary: Departure From     Patrick      exhibits that lack   trial, for which no
                                          St. Cloud Regional            Johnston /   foundation.          foundation is
                23                                                      David                             needed. If this
                                          Airport.”                     Stromberg                         timeline is used as
                24                                                                                        substantive
                                                                                                          evidence at trial,
                25                                                                                        foundation will be
                                                                                                          established
                26                                                                                        through testimony.
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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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       Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 9 of 11 Page ID #:380




                 1                          DEFENDANTS’ EXHIBITS
                      Case Name: PJAM LLC, et al. vs. XX GLOBAL, INC., et al.
                 2    Case Number: CV 2:18-03192 JFW (MRWx)
                      Exhibit Description              Witness If Objection,  Response to
                 3    No.                                      State Grounds Objection
                      45.                 Undated Illustrative/         These exhibits      This is a
                 4                        Graphic Exhibit – To be       have not been       placeholder. Any
                                          Provided                      provided to         additional
                 5                                                      Plaintiff’s counsel illustrations for
                                                                        for review and are  trial will be timely
                 6                                                      thus untimely.      disclosed to
                                                                                            Plaintiff per the
                 7                                                                          Court’s
                                                                                            Scheduling and
                 8                                                                          Case Management
                                                                                            Order.
                 9    46.                 Undated Illustrative/         These exhibits      This is a
                                          Graphic Exhibit – To be       have not been       placeholder. Any
                10                        Provided                      provided to         additional
                                                                        Plaintiff’s counsel illustrations for
                11                                                      for review and are trial will be timely
                                                                        thus untimely.      disclosed to
                12                                                                          Plaintiff per the
                                                                                            Court’s
                13                                                                          Scheduling and
                                                                                            Case Management
                14                                                                          Order.
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KING, HOLMES,
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                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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      Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 10 of 11 Page ID #:381




                 1    47.                 Undated Illustrative/                 These exhibits      This is a
                                          Graphic Exhibit – To be               have not been       placeholder. Any
                 2                        Provided                              provided to         additional
                                                                                Plaintiff’s counsel illustrations for
                 3                                                              for review and are  trial will be timely
                                                                                thus untimely.      disclosed to
                 4                                                                                  Plaintiff per the
                                                                                                    Court’s
                 5                                                                                  Scheduling and
                                                                                                    Case Management
                 6                                                                                  Order.
                      48.                 Undated Illustrative/                 These exhibits      This is a
                 7                        Graphic Exhibit – To be               have not been       placeholder. Any
                                          Provided                              provided to         additional
                 8                                                              Plaintiff’s counsel illustrations for
                                                                                for review and are trial will be timely
                 9                                                              thus untimely.      disclosed to
                                                                                                    Plaintiff per the
                10                                                                                  Court’s
                                                                                                    Scheduling and
                11                                                                                  Case Management
                                                                                                    Order.
                12
                13
                14             IT IS SO STIPULATED.
                15
                16 DATED: March 14, 2019                            KING, HOLMES, PATERNO &
                17                                                  SORIANO, LLP

                18
                19
                                                                    By: /s/ Howard E. King
                20                                                               HOWARD E. KING
                21                                                               MATTHEW J. CAVE
                                                                    Attorneys for Defendants and
                22                                                  Counterclaimants XX GLOBAL, INC. and
                23                                                  JACQUES WEBSTER

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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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      Case 2:18-cv-03192-JFW-MRW Document 38 Filed 03/14/19 Page 11 of 11 Page ID #:382




                 1 DATED: March 14, 2019             HILL, FARRER & BURRIL LLP
                 2
                 3
                                                     By: /s/ Stephen J. Tomasulo
                 4
                                                                STEPHEN J. TOMASULO
                 5                                   Attorneys for Plaintiff and Counterclaim
                 6                                   Defendant PJAM LLC, and Counterclaim
                                                     Defendants JEFFERSON AGAR, ALEX
                 7                                   MARTINI and PATRICK JOHNSTON
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KING, HOLMES,
 PATERNO &
                     3975.065/1403736.2
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                     [PROPOSED] PRETRIAL EXHIBIT STIPULATION
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